       Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 1 of 34


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP; THE TRUMP
ORGANIZATION, INC.; TRUMP
ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC;
THE DONALD J. TRUMP REVOCABLE
TRUST; and TRUMP OLD POST OFFICE
LLC,

                         Plaintiffs,

       v.                                           Case No. 1:19-cv-01136-APM

MAZARS USA LLP,

                         Defendant,

COMMITTEE ON OVERSIGHT AND
GOVERNMENT REFORM OF THE
U.S. HOUSE OF REPRESENATIVES,

                Intervenor-Defendant.


OPPOSITION OF INTERVENOR-DEFENDANT COMMITTEE ON OVERSIGHT AND
REFORM OF THE U.S. HOUSE OF REPRESENTATIVES TO PLAINTIFFS’ MOTION
                   FOR A PRELIMINARY INJUNCTION

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May 1, 2019                             Representatives
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 2 of 34



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 3
  I.     The Committee’s Investigations of Government Ethics and Financial Disclosures............. 3
  II. The Committee Issues a Subpoena to Mazars ...................................................................... 8
  III. Trump Files Suit to Prevent Mazars from Complying with the Subpoena ........................... 9
ARGUMENT .................................................................................................................................. 9
PLAINTIFFS ARE NOT ENTITLED TO A PRELIMINARY INJUNCTION ................................................... 9
  I.     Plaintiffs Cannot Demonstrate a Substantial Likelihood of Success on the Merits ........... 10
         A. The Constitution Confers Broad Investigatory Powers on Congress ......................... 11
         B. The Committee’s Power to Investigate ....................................................................... 12
         C. The Committee Has a Valid Legislative Purpose ....................................................... 14
                1. Supreme Court Precedent Does Not Require the Committee to Identify Any
                     Particular Legislation Being Considered............................................................ 15
                2. The Committee’s Subpoena Seeks Information in Furtherance of a Valid
                    Legislative Purpose ............................................................................................. 17
                3. The Committee Is Not Engaged in a Law-Enforcement Investigation ................... 21
                4. Trump’s Assertion That the Committee Is Exposing for Exposure’s Sake Lacks
                    Merit .................................................................................................................... 23
  II. Plaintiffs Have Failed to Establish a Likelihood of Irreparable Injury ............................... 24
  III. The Balance of Equities Tips Heavily in Favor of the Committee ..................................... 26
  IV. The Public Interest Supports Enforcement of the Subpoena .............................................. 27
CONCLUSION ............................................................................................................................. 28
CERTIFICATE OF SERVICE




                                                                       i
                Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 3 of 34



                                                  TABLE OF AUTHORITIES

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    Abdullah v. Obama,
           753 F.3d 193 (D.C. Cir. 2014) ...................................................................................10, 24

*   Bean LLC v. John Doe Bank,
           291 F. Supp. 3d 34 (D.D.C. 2018) ...........................................................11, 14, 16, 18, 21

*   Barenblatt v. United States,
           360 U.S. 109 (1959) .....................................................................11, 13, 15, 16, 20, 23, 26

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            424 U.S. 1 (1976) .............................................................................................................12

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           454 F.3d 290 (D.C. Cir. 2006) .........................................................................................25

    CityFed Fin. Corp. v. Office of Thrift Supervision,
            58 F.3d 738 (D.C. Cir. 1995) ...........................................................................................10

    Committee on the Judiciary, U.S. House of Representatives v. Miers,
           558 F. Supp. 2d 53 (D.D.C. 2008) ...................................................................................26

    Davis v. Pension Benefit Guar. Corp.,
            571 F.3d 1288 (D.C. Cir. 2009) .......................................................................................10

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            421 U.S. 491 (1975) .................................................................3, 11, 12, 14, 18, 21, 23, 27

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            317 U.S. 501 (1943) .........................................................................................................19

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           589 F.2d 582 (D.C. Cir. 1978) ...................................................................................22, 27

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           369 U.S. 599 (1962) .........................................................................................................22

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            5 F.3d 1508 (D.C. Cir. 1993) ...........................................................................................27

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          273 U.S. 135 (1927) .....................................................................11, 12, 15, 16, 22, 24, 26

    McPhaul v. United States,
          364 U.S. 372 (1960) .......................................................................................14, 18, 19, 21


                                                                       ii
                 Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 4 of 34



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            521 F.2d 1024 (D.C. Cir. 1975) .....................................................................13, 19, 21, 27

     Okla. Press Publ’g Co. v. Walling,
             327 U.S. 186 (1946) .........................................................................................................19

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             349 U.S. 155 (1955) ...................................................................................................16, 21

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             845 F. Supp. 17 (D.D.C. 1994) ......................................................................17, 18, 20, 21

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             644 F.3d 388 (D.C. Cir. 2011) .........................................................................................10

     Townsend v. United States,
            95 F.2d 352 (D.C. Cir. 1938) ..................................................................................... 13-14

     Trump v. Hawaii,
            138 S. Ct. 2392 (2018) .....................................................................................................23

     United States v. R. Enterps., Inc.,
             498 U.S. 292 (1991) ...................................................................................................18, 21

     Watkins v. United States,
             354 U.S. 178 (1957) ........................................................................................... 1-2, 23, 24

     Winter v. Nat. Res. Def. Council, Inc.,
             555 U.S. 7 (2008) .......................................................................................................10, 24

    Wis. Gas Co. v. FERC,
           758 F.2d 669 (D.C. Cir. 1985) (per curiam) ......................................................................25

     Constitution

*    U.S. Const. art. I, § 5, cl. 2.............................................................................................................12

     U.S. Const. art. I, § 7, cl. 2...............................................................................................................6

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     H.R. 391, 116th Cong. (2019)........................................................................................................17

     H.R. 681, 116th Cong. (2019).................................................................................................. 16-17

                                                                          iii
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 5 of 34



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H.R. 745, 116th Cong. (2019)....................................................................................................6, 16

Rule X.3(i), Rules of the House of Representatives (116th Cong.) ...............................................13

Rule X.4(c)(2), Rules of the House of Representatives (116th Cong.) .........................................13

Rule XI.1(b)(1), Rules of the House of Representatives (116th Cong.) ........................................12

Rule XI.2(m)(1)(B), Rules of the House of Representatives (116th Cong.) .................................13

Rule 12(g), Rules of the House Comm. on Oversight and Reform (116th Cong.) ........................13

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                                                                 iv
         Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 6 of 34



       Intervenor-defendant the Committee on Oversight and Reform of the U.S. House of

Representatives (Committee) submits this response in opposition to the motion for a preliminary

injunction (Apr. 22, 2019) (ECF No. 11) (Pls.’ Mem.) filed by Donald J. Trump (in his

individual, not Presidential, capacity), The Trump Organization, Inc., Trump Organization LLC,

The Trump Corporation, DJT Holdings LLC, The Donald J. Trump Revocable Trust, and Trump

Old Post Office LLC (Trump or plaintiffs). Plaintiffs seek extraordinary relief that, if granted,

would directly impede ongoing Congressional investigations of national importance and threaten

the Constitutional system that separates and divides power between the branches of government.

                                        INTRODUCTION

       Trump’s request here for a preliminary injunction betrays a fundamental

misunderstanding of the powers of the Legislative Branch under the Constitutional scheme

established by the Framers. And Trump’s view of the powers of Congress is blatantly

inconsistent with many decades of Supreme Court precedent.

       Congress’s power to conduct oversight and investigations is firmly rooted in the

separation of powers that undergirds our Constitutional framework. As one of the Framers

explained, they intended Congress to conduct investigations as the British House of Commons

had—as “the grand inquest of the state . . . diligently inquir[ing] into grievances, arising from

both men and things.” 2 James Wilson, The Works of James Wilson 29 (James DeWitt Andrews

ed., 1896). Congress, therefore, is to “play its part in preserving the balance of powers through

its possession and exercise of three vital powers: the power to authorize war; the power of the

purse; and the power of investigation.” 1 Congress Investigates: A Documented History 1792-

1974, at i (Arthur M. Schlesinger, Jr. & Roger Burns eds., 1983) (emphasis added).

       Contrary to Trump’s allegation that the Committee here is merely attempting to “expose

for the sake of exposure,” Pls.’ Mem. at 10 (quoting Watkins v. United States, 354 U.S. 178, 200


                                                 1
         Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 7 of 34



(1957)), the Committee is actually investigating the numerous and serious constitutional, conflict

of interest, and ethical questions raised by the personal financial holdings of Trump, even as he

serves as President, as well as those of other high-ranking government officials.

       The Committee’s investigations have already revealed that many of these conflicts of

interest have been obscured from the public by inaccurate and incomplete disclosures and, as a

result, the Committee is determining what legislation is required to ensure full public confidence

in the officials charged with executing the nation’s laws. The Committee is exercising its

oversight and investigative powers in a manner wholly consistent with Congress’s traditional

purposes: to consider and enact legislation, oversee the administration of programs, monitor how

taxpayer money is being spent, and inform the public. In the words of one well-known

Congressional scholar:

               Quite as important as legislation is vigilant oversight of
               administration. . . . It is the proper duty of a representative body to
               look diligently into every affair of government and to talk much
               about what it sees. . . . The informing function of Congress should
               be preferred to its legislative function.

Woodrow Wilson, Congressional Government 195, 198 (Dover ed. 2006) (1885).

       Rather than afford the Committee’s legitimate investigations into these serious issues of

national importance the respect and deference to which they are entitled, Trump and his

companies have treated Congress as a mere nuisance and continually engaged in stonewalling

intended to obstruct and undermine these inquiries in every possible way. This suit is Trump’s

latest delay tactic and attempt to prevent the Committee from obtaining the critical information it

requires to make an informed judgment about matters squarely within its legislative and

oversight jurisdiction. By bringing suit against defendant Mazars USA LLP (Mazars), Trump

aims to do indirectly what longstanding Supreme Court precedent unambiguously prevents him




                                                 2
           Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 8 of 34



from doing directly—namely, quash a valid Congressional subpoena. See Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 505-06 (1975).

       Trump’s attacks on the Committee’s investigations amount to nothing more than political

histrionics and hyperbole. Trump has provided no legally cognizable grounds sufficient to

establish any likelihood of success on the merits, much less a substantial one. His disapproval of

the Committee’s investigations and its efforts to obtain relevant information from Mazars, a third

party, does not create a legal basis for this Court to grant the relief sought.

       Accordingly, the motion for a preliminary injunction should be denied.

                                          BACKGROUND

 I. The Committee’s Investigations of Government Ethics and Financial Disclosures

       Shortly after commencement of the 116th Congress, the Committee on Oversight and

Reform—the principal investigative Committee of the House—began to investigate and conduct

oversight regarding the following topics: Presidential financial disclosures and information

required to be submitted to the Office of Government Ethics; 1 government ethics throughout the

Executive Branch; potential conflicts of interest related to senior Executive Branch officials;

possible constitutional violations flowing from the President’s continued interest in his financial




       1
          See Letter from the Honorable Elijah E. Cummings, Chairman, House Comm. on
Oversight & Reform, to Emory A. Rounds III, Dir., Office of Gov’t Ethics (Jan. 22, 2019)
(requesting documents relating to the President’s reporting of debts and payments relating to
women alleging extramarital affairs) (attached as Exhibit A to Declaration of Greta G. Gao);
Letter from the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight &
Reform, to Pat Cipollone, Counsel to the President (Jan. 8, 2019) (same),
https://tinyurl.com/Jan8CummingsCipolloneLetter; Letter from the Honorable Elijah E.
Cummings, Chairman, House Comm. on Oversight & Reform, to George A. Sorial, Exec. Vice
President and Chief Compliance Officer, Trump Org. (Jan. 8, 2019) (same),
https://tinyurl.com/Jan8CummingsSorialLetter.


                                                   3
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 9 of 34



holdings, 2 including President Trump’s financial interest in the Trump International Hotel,

Washington, D.C., under a federal lease administered by the General Services Administration

(GSA); any financial disclosures used to obtain that lease; and GSA’s ongoing management of

that lease. 3

        Many of these investigations share at their core the principle that senior government

officials, including the nation’s Chief Executive, should act in the country’s best interest, not

their own personal financial interest. They stem, in part, from the President’s refusal to liquidate

his business interests and place the assets in a truly independent trust to insulate himself from

even the perception of a conflict of interest. As part of these investigations, the Committee

requested documents from, among others, the White House, the Trump Organization, the Office

of Government Ethics, and GSA, and requested interviews of officials such as former Deputy

White House Counsel for Ethics and Compliance Stefan Passantino and President Trump’s

personal attorney, Sheri Dillon.

        After the White House declined to produce requested documents—and the Office of

Government Ethics provided new information raising questions about the accuracy of President

Trump’s financial disclosures—the Committee renewed its request for documents from the



        2
          See Letter from the Honorable Elijah E. Cummings, Ranking Member, House Comm.
on Oversight & Reform, to Sheri Dillon, Counsel to Donald Trump, and George A. Sorial, Exec.
Vice President and Chief Compliance Officer, Trump Org. (Dec. 19, 2018),
https://tinyurl.com/Dec19CummingsDillonLetter.
        3
          See, e.g., Letter from the Honorable Elijah E. Cummings, Ranking Member, House
Comm. on Oversight & Reform, et al., to Timothy Horne, Acting Adm’r, Gen. Servs. Admin.
(June 5, 2017), https://tinyurl.com/June5CummingsHorneLetter; Letter from the Honorable
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https://tinyurl.com/July6CummingsHorneLetter; Letter from the Honorable Elijah E. Cummings,
Chairman, House Comm. on Oversight & Reform, et al., to Timothy Horne, Acting Adm’r, Gen.
Servs. Admin. (Apr. 12, 2019), https://tinyurl.com/Apr12CummingsHorneLetter.


                                                  4
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 10 of 34



White House, citing its “plenary authority to legislate and conduct oversight regarding

compliance with ethics laws and regulations.” 4 As the Committee explained to the White House,

the Committee’s legislative jurisdiction covers the Ethics in Government Act of 1978, “which

requires federal officials to publicly disclose financial liabilities that could affect their decision-

making on behalf of the American people.” 5 The Committee made clear that its investigations

into “how existing laws are being implemented and whether changes to the laws are

necessary . . . includ[ing] [to] laws relating to financial disclosures required of the President.” 6

        At the same time the Committee has been investigating the accuracy and completeness of

the President’s financial disclosures and other related issues, the House introduced H.R. 1, “a

historic reform package to restore the promise of our nation’s democracy, end the culture of

corruption in Washington, and reduce the role of money in politics to return the power back to

the American people.” 7 As Chairman Cummings stated when H.R. 1 was introduced, “[o]ver the

last two years, President Trump set the tone from the top in his Administration that behaving

ethically and complying with the law is optional. . . . This bill includes a number of reforms that

will strengthen accountability for executive branch officials—including the President.” 8 One of




        4
           Letter from the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight
& Reform, to Pat Cipollone, Counsel to the President 7 (Feb. 15, 2019),
https://tinyurl.com/Feb15CummingsCipolloneLetter.
        5
            Id.
        6
            Id. at 9.
        7
          Press Release, Speaker of the House Nancy Pelosi, Pelosi Remarks at Press Event on
Introduction of H.R. 1, For the People Act (Jan. 4, 2019), https://tinyurl.com/HR1Remarks. The
bill was referred to the Committee on Oversight and Reform (among others) on January 3, 2019,
and discharged from the Committee on March 4. See Committees: H.R. 1—116th Congress
(2019-2020), Congress.gov, https://tinyurl.com/HR1Committees.
        8
        Press Release, House Comm. on Oversight & Reform, Chairman Cummings Issues
Statement on H.R. 1 (Jan. 4, 2019), https://tinyurl.com/CummingsHR1PressRelease.


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          Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 11 of 34



those reforms would “[r]equire[] the President and the Vice President to file a new financial

disclosure report within 30 days of taking office.” 9 Indeed, H.R. 1 includes numerous provisions

for reforming the financial disclosures of government officials and candidates for office,

including disclosures of potential or actual Presidential conflicts of interest. H.R. 1, 116th

Cong., tit. VIII (2019). If enacted, H.R. 1 would require, among other things, that the President

and Vice President “divest of all financial interests that pose a conflict of interest” by either

converting those interests to cash or investments that satisfy ethics rules or placing those interests

in a qualified blind trust or disclosing information about business interests. Id. § 8012.

         Although the House passed H.R. 1 on March 8, 2019, the legislative process remains

ongoing. Following Senate consideration, the bill may either return to the House with

amendments, or a conference committee may be established to resolve any differences between

the two chambers, before being sent to the President for his signature or veto. See U.S. Const.

art. I, § 7, cl. 2.

         In addition, several other bills have been introduced and referred to the Committee that

address these and related issues. These include a bill to strengthen the Office of Government

Ethics, see H.R. 745, 116th Cong. (2019), and a bill proposing to prohibit the President and Vice

President from conducting business directly with the Federal Government, see H.R. 706, 116th

Cong. (2019). The Committee also continues to examine whether additional measures are

necessary to strengthen financial disclosure laws given what one former senior ethics official has

described as the law’s inadequacies as applied to this Administration: “The financial disclosure




         9
             Id.


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        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 12 of 34



rules are the result of compromises and are antiquated . . . They were built for another day and

time—not for the complicated financial entanglements of the Trump administration.” 10

       On February 27, 2019, while H.R. 1 was under consideration in the House, the

Committee convened a hearing as part of its investigations into President Trump’s compliance

with financial disclosure requirements and potential conflicts of interest. 11 At the hearing, the

President’s former attorney Michael Cohen testified that financial statements allegedly prepared

by Mazars may have included false statements about President Trump’s assets and liabilities. 12

In particular, Cohen testified that it was his “experience that Mr. Trump inflated his total assets

when it served his purposes . . . and deflated his assets to reduce his real estate taxes.” 13 To

corroborate his claims, Cohen produced to the Committee portions of financial statements from

2011, 2012, and 2013, some of which were prepared by Mazars. 14

       Given that the Committee had already obtained substantial evidence that President Trump

had improperly omitted other liabilities from his federal financial disclosures—namely, hundreds

of thousands of dollars in expenditures made by Cohen on Trump’s behalf during the 2016


       10
           Chase Peterson-Withorn, What You (Don’t) Know About Trump: The Huge Holes in
Disclosure Rules and How They Could Be Fixed, Forbes (Oct. 24, 2018, 12:07 PM),
https://tinyurl.com/ForbesDisclosureRules (quoting Ambassador Norm Eisen, former Special
Counsel for Ethics and Government Reform at the White House).
       11
           See Michael Cohen, Former Attorney to President Donald Trump: Hearing Before the
H. Comm. on Oversight & Reform, 116th Cong. (2019) (Cohen Testimony),
https://tinyurl.com/CohenHearing.
       12
            See id. 13, 19.
       13
          See id. (noting that Cohen was providing three years of the President’s personal
financial statements in which the President inflated his assets in requesting a loan to buy a
professional football team and Forbes magazine).
       14
          WeiserMazars LLP, Donald J. Trump: Statement of Financial Condition (June 30,
2011); WeiserMazars LLP, Donald J. Trump: Statement of Financial Condition (June 30, 2012);
Donald J. Trump: Summary of Net Worth as of March 31, 2013. These documents are
collectively attached as Exhibit B to Declaration of Greta G. Gao.


                                                  7
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 13 of 34



presidential campaign 15—the allegation that Trump altered his assets and liabilities even before

assuming office raised grave questions about his potential conflicts of interest after being elected,

whether they are adequately captured by and reflected in his financial disclosures submitted

during the campaign or while in office, and whether it would be effective and appropriate to

reform financial disclosure or other laws in order to ensure transparency and prevent conflicts of

interest.

II. The Committee Issues a Subpoena to Mazars

        Following Cohen’s testimony and as part of the investigations described above, the

Committee wrote to Mazars on March 20, 2019, seeking information on how certain financial

statements and other financial disclosures were prepared for Trump and various of his business

entities in this suit.16 As the letter explained, the Committee had reviewed the information

provided by Cohen and identified several specific concerns about the President’s reporting of his

assets and liabilities, including concerns about whether and to whom the President owes

significant debts identified in the financial statements. 17 The letter also identified potential

differences between the Mazars financial statements and the President’s financial disclosures.

For example, the 2012 financial statement prepared by Mazars did not include assets or liabilities

relating to the Trump International Hotel and Tower in Chicago and Trump International Hotel

in Las Vegas, but then-candidate Trump’s 2015 financial disclosure form and subsequent

disclosures listed more than $75 million in debt connected to the Chicago property and assets of




        15
             See Cohen Testimony 13-14.
        16
          Letter from the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight
& Reform, to Victor Wahba, Chairman and Chief Exec. Officer, Mazars USA LLP (Mar. 20,
2019), https://tinyurl.com/Mar20CummingsLetter.
        17
             Id. at 3.


                                                   8
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 14 of 34



more than $50 million for the Las Vegas property during the same period (but no debts). 18

Accordingly, the Committee requested from Mazars documents and information relating to the

firm’s preparation, review, and auditing of financial statements for Trump and his business

entities.

        Mazars informed the Committee that it could not voluntarily provide the requested

documents without a Congressional subpoena. 19 After discussions between the Committee and

Mazars, the Committee issued a subpoena to Mazars on April 15, 2019, seeking financial

statements, supporting documents, and related communications. 20 The same day, Trump’s

counsel requested that Mazars provide notice of its intent to comply with the subpoena in time to

allow a challenge to the subpoena in court.

III. Trump Files Suit to Prevent Mazars from Complying with the Subpoena

        On April 22, 2019, five business days before the subpoena return date, counsel for Trump

notified the Committee that he had filed this suit challenging the subpoena to Mazars. After

being contacted by the Court, counsel for all parties reached agreement on an accelerated

briefing schedule, which the Court entered, with a hearing set for May 14, 2019.

                                         ARGUMENT

                   PLAINTIFFS ARE NOT ENTITLED TO A PRELIMINARY INJUNCTION

        Plaintiffs’ motion for a preliminary injunction should be denied because the Committee’s

subpoena to Mazars seeks information squarely within the Committee’s legislative and oversight



        18
             Id. at 2.
        19
          Letter from Jerry D. Bernstein, BlankRome LLP, Outside Counsel to Mazars USA
LLP, to the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform
(Mar. 27, 2019), https://tinyurl.com/Mar27MazarsLetter.
        20
          Subpoena from House Comm. on Oversight & Reform to Mazars USA LLP (Apr. 15,
2019) (Pl. Ex. A to Application for TRO (Apr. 22, 2019) (ECF No. 9-1)).


                                                9
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 15 of 34



jurisdiction, and compliance with the subpoena would not injure any of the interested parties. “A

preliminary injunction is ‘an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.’” Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)).

        To demonstrate entitlement to a preliminary injunction, a litigant must show “(1) a

substantial likelihood of success on the merits, (2) that it would suffer irreparable injury if the

injunction is not granted, (3) that an injunction would not substantially injure other interested

parties, and (4) that the public interest would be furthered by the injunction.” CityFed Fin. Corp.

v. Office of Thrift Supervision, 58 F.3d 738, 746 (D.C. Cir. 1995). “When seeking a preliminary

injunction, the movant has the burden to show that all four factors, taken together, weigh in favor

of the injunction.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C. Cir. 2014) (quotation marks

omitted). 21

I. Plaintiffs Cannot Demonstrate a Substantial Likelihood of Success on the Merits

        The best argument for denial of plaintiff’s request for an injunction here is provided by a

series of Supreme Court decisions, which themselves draw on historical practice stretching back

to the earliest days of our Republic. We therefore cite liberally from these Supreme Court

rulings, which demonstrate what we said at the outset: Trump’s suit reflects a seriously

uninformed and mistaken view of the powers of Congress. An injunction in Trump’s favor here


        21
           The D.C. Circuit has traditionally evaluated the four injunction factors on a sliding
scale, but several Circuit Judges have correctly read the Supreme Court’s decision in Winter v.
Natural Resources Defense Council, Inc., 555 U.S. 7 (2008), “at least to suggest, if not to hold,
‘that a likelihood of success is an independent, free-standing requirement for a preliminary
injunction.’” Sherley, 644 F.3d at 393 (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d
1288, 1296 (D.C. Cir. 2009) (Kavanaugh, J., concurring, joined by Henderson, J.)). In light of
Winter, the sliding-scale approach is no longer valid, and likelihood of success is an
indispensable prerequisite to injunctive relief. Regardless of the approach this Court applies,
however, plaintiffs here cannot satisfy the factors necessary to obtain a preliminary injunction.


                                                  10
         Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 16 of 34



would constitute a radical departure from many decades of law established by the Supreme

Court.

         A. The Constitution Confers Broad Investigatory Powers on Congress

         The Supreme Court has consistently recognized that Congress’s authority to obtain

information necessary to conduct oversight and investigations is extremely broad. See, e.g.,

Eastland, 421 U.S. at 504 n.15 (“[T]he scope of [Congress’s] power of inquiry . . . is as

penetrating and far-reaching as the potential power to enact and appropriate under the

Constitution.” (quotation marks omitted)). The Supreme Court has stated that Congress’s

“power to secure needed information by [compulsory process] has long been treated as an

attribute of the power to legislate . . . [and] is an essential and appropriate auxiliary to the

legislative function.” McGrain v. Daugherty, 273 U.S. 135, 161, 174 (1927); see also, e.g.,

Barenblatt v. United States, 360 U.S. 109, 111 (1959) (“The power of inquiry has been employed

by Congress throughout our history, over the whole range of the national interests concerning

which Congress might legislate or decide upon due investigation not to legislate[.]”); Bean LLC

v. John Doe Bank, 291 F. Supp. 3d 34, 43 (D.D.C. 2018) (similar).

         As an essential aspect of Congress’s constitutionally based oversight and investigative

authority, the Supreme Court has made clear that the “[i]ssuance of subpoenas . . . has long been

held to be a legitimate use by Congress of its power to investigate.” Eastland, 421 U.S. at 504.

The Court has further explained:

                A legislative body cannot legislate wisely or effectively in the
                absence of information respecting the conditions which the
                legislation is intended to affect or change; and where the legislative
                body does not itself possess the requisite information—which not
                infrequently is true—recourse must be had to others who do possess
                it. Experience has taught that mere requests for such information
                often are unavailing, and also that information which is volunteered
                is not always accurate or complete; so some means of compulsion
                are essential to obtain what is needed. All this was true before and


                                                   11
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 17 of 34



                when the Constitution was framed and adopted. In that period the
                power of inquiry, with enforcing process, was regarded and
                employed as a necessary and appropriate attribute of the power to
                legislate—indeed, was treated as inhering in it.

McGrain, 273 U.S. at 175; see also Buckley v. Valeo, 424 U.S. 1, 138 (1976) (same), superseded

on other grounds by statute as recognized by McConnell v. FEC, 540 U.S. 93 (2003); Eastland,

421 U.S. at 504-05 (same). In upholding Congress’s broad power to investigate, the Supreme

Court has pointed out that James Madison and others “who had taken an important part in

framing the Constitution” were Members of the House of Representatives who, in recognition of

Congress’s power to investigate, voted in favor of an inquiry into the Executive Branch.

McGrain, 273 U.S. at 161.

       Pursuant to the Constitution’s Rulemaking Clause, U.S. Const. art. I, § 5, cl. 2, which

provides that “[e]ach House [of Congress] may determine the Rules of its Proceedings,” the

House of Representatives has delegated extensive oversight and investigative authority to its

Committees. See Rule XI.1(b)(1), Rules of the House of Representatives (116th Cong.) (House

Rules) 22 (“Each committee may conduct at any time such investigations and studies as it

considers necessary or appropriate in the exercise of its responsibilities under rule X [providing

for Committees’ jurisdiction].”).

       B. The Committee’s Power to Investigate

       The Committee on Oversight and Reform is the House’s primary investigative

Committee. Unlike other standing Committees of the House, the Committee on Oversight and

Reform is expressly authorized to investigate and conduct oversight into matters beyond the

specific subjects within its legislative jurisdiction, including “the operation of Government



       22
            Available at https://tinyurl.com/HouseRules116thCong.


                                                12
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 18 of 34



activities at all levels, including the Executive Office of the President.” House Rule X.3(i).

Further, of critical importance here, House Rule X empowers the Committee to “at any time

conduct investigations of any matter without regard to [the] clause conferring jurisdiction over

the matter to another standing committee,” and it authorizes the Committee to conduct these

investigations to make “findings and recommendations” to other House committees of

jurisdiction. House Rule X.4(c)(2) (emphases added). In other words, the Committee’s

investigative jurisdiction is conterminous with the jurisdiction of the entire House of

Representatives and is intended to inform not only its own legislative function, but the legislative

functions of all the other House Committees.

       To carry out its extensive legislative, investigative, and oversight responsibilities, the

Committee is empowered to issue subpoenas for testimony and documents. See House Rule

XI.2(m)(1)(B); Rule 12(g), Rules of the House Comm. on Oversight and Reform (116th Cong.)

(Committee Rules). 23

       The Supreme Court has instructed that the role of the courts in reviewing the

Committee’s investigations is narrow and limited. Barenblatt, 360 U.S. at 132 (“So long as

Congress acts in pursuance of its constitutional power, the Judiciary lacks authority to intervene

on the basis of the motives which spurred the exercise of that power.”). Unlike in disputes

regarding civil discovery, where “a rational legislative purpose is present for investigating a

particular person, organization, or institution[,] [t]here is no requirement that every piece of

information gathered in such an investigation be justified before the judiciary.” McSurely v.

McClellan, 521 F.2d 1024, 1041 (D.C. Cir. 1975), vacated on other grounds by McSurely v.

McClellan, 553 F.2d 1277, 1280 (D.C. Cir. 1976) (en banc) (per curiam); see also Townsend v.


       23
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                                                 13
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 19 of 34



United States, 95 F.2d 352, 361 (D.C. Cir. 1938) (“A legislative inquiry anticipates all possible

cases which may arise thereunder and the evidence admissible must be responsive to the scope of

the inquiry, which generally is very broad.”).

       The Supreme Court, moreover, has recognized that a Congressional investigation may

lead “up some ‘blind alleys’ and into nonproductive enterprises. To be a valid legislative inquiry

there need be no predictable end result.” Eastland, 421 U.S. at 509.

       Given that the Committee’s inquiry here involves serious constitutional questions and

legitimate concerns about government ethics, there can be no question about its public

importance. Despite what Trump argues, the Supreme Court has established that it is not the

function of this Court to adjudicate the motivations of the Committee or second-guess the

Committee’s reasonable determinations regarding the need for this information. Id. at 508

(instructing that when “determining the legitimacy of a congressional act, [courts] do not look to

the motives alleged to have prompted it”); see also, e.g., Bean LLC, 291 F. Supp. 3d at 44

(holding that courts “lack[] the authority to restrict the scope of the Committee’s investigation”

and stating that they “may not [] engage in a line-by-line review of . . . Committee[] requests”

(emphasis added)).

       C. The Committee Has a Valid Legislative Purpose

       Trump asserts that Mazars should be enjoined from compliance with the Committee’s

subpoena because it “is not supported by a legitimate legislative purpose.” Pls.’ Mem. at 11.

Quite the opposite is true. As the Supreme Court has made clear, this Court’s examination

should be limited to whether the Committee’s inquiry is authorized under House Rules (which it

is), and whether plaintiffs can demonstrate that the subpoena is “plainly incompetent or

irrelevant to any lawful purpose,” McPhaul v. United States, 364 U.S. 372, 381 (1960), which

they cannot. As explained above, the Committee’s subpoena to Mazars expressly relates to


                                                 14
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 20 of 34



numerous investigations consistent not only with the Committee’s legislative jurisdiction, but

also its broad oversight and investigative mandate. See supra pp. 8-9.

       In an attempt to satisfy their burden, plaintiffs advance several arguments to support their

claim that the Committee’s subpoena is invalid. Each is unavailing.

           1.   Supreme Court Precedent Does Not Require the Committee to Identify Any
                Particular Legislation Being Considered

       Plaintiffs contend that the subpoena is invalid because “Chairman Cummings has never

identified a single piece of legislation he is considering.” Pls.’ Mem. at 11 (emphasis in

original). The Committee, however, has no obligation—legal or otherwise—to identify a

specific piece of legislation it is considering. The Supreme Court requires only that the subject

matter of the legislative inquiry be “one on which legislation could be had.” McGrain, 273 U.S.

at 177 (emphasis added).

       The Supreme Court has consistently confirmed that the legislative power of inquiry “has

been employed by Congress throughout our history, over the whole range of the national

interests concerning which Congress might legislate or decide upon due investigation not to

legislate[.]” Barenblatt, 360 U.S. at 111 (emphasis added). For example, in McGrain v.

Daugherty, the Court recognized that the original resolution authorizing the Senate’s

investigation into the Teapot Dome Affair made no mention of a legislative purpose. 273 U.S. at

177 (“It is quite true that the resolution directing the investigation does not in terms avow that it

is intended to be in aid of legislation[.]”). Nevertheless, the Court upheld the investigation,

noting that “[p]lainly the subject was one on which legislation could be had and would be

materially aided by the information which the investigation was calculated to elicit.” Id.

Moreover, the Court in McGrain concluded that it was “bound to presume that the action of the




                                                  15
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 21 of 34



legislative body was with a legitimate object, if it is capable of being so construed, and we have

no right to assume that the contrary was intended.” Id. at 178 (quotation marks omitted).

       Thus, the proper legal standard requires only that the subject matter of a legislative

inquiry be “one on which legislation could be had.” Id. at 177 (emphasis added); Bean LLC, 291

F. Supp. 3d at 43 (D.D.C. 2018). Were the law that Congress could only investigate matters

upon which legislation already exists or is actively being considered—as plaintiffs suggest—

Congress would be in the untenable position of being required to draft legislation before

conducting inquiries or investigations, and would “be seriously handicapped in its efforts to

exercise its constitutional function.” Quinn v. United States, 349 U.S. 155, 160-61 (1955); see

also McGrain, 273 U.S. at 178. Such a requirement would effectively constrain the legislative

process and would deprive Congress of the ability to obtain the very information necessary to

fully inform itself about whether legislation is necessary or not, see, e.g., Barenblatt, 360 U.S. at

111, and, when legislation is determined to be necessary, to “legislate wisely and effectively.”

McGrain, 273 U.S. at 175.

       Although the Committee is not required to identify specific pending legislation to justify

either the legitimate legislative purpose of its investigations or the subpoena at issue, here,

multiple bills related to Executive Branch conflicts of interests and senior official financial

disclosures have been introduced in the House and referred to the Committee for its

consideration. In addition to the provisions of H.R. 1 discussed above, these bills include

proposals to strengthen the investigative and enforcement authority of the Office of Government

Ethics, see H.R. 745, 116th Cong. (2019); prohibit the President and Vice President and related

entities from conducting business with the federal government, see H.R. 706, 116th Cong.

(2019); extend anti-nepotism laws to the Executive Office of the President, see H.R. 681, 116th




                                                 16
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 22 of 34



Cong. (2019); and require public reporting of ethics waivers obtained by Executive Branch

appointees, see H.R. 391, 116th Cong. (2019).

       Plaintiffs have offered no legitimate reason to suggest that the subpoena to Mazars was

not designed and is not expected to elicit information that will inform and aid the Committee, as

well as the full House, in its advancement of pending legislation. The information being sought

will assist the Committee and the full House with considering the need for other legislation,

including the potential for bills regarding whether and how to expand the scope, penalties, and

periods covered by financial disclosure laws, and the adequacy of criminal laws governing the

reporting of financial information to financial institutions.

           2. The Committee’s Subpoena Seeks Information in Furtherance of a Valid
              Legislative Purpose

       Trump also asserts that the subpoena is unenforceable because it seeks information about

the “conduct of a private citizen years before he was even a candidate for public office,” a

purpose that “has nothing to do with government oversight.” Pls.’ Mem. at 11. Trump’s

reasoning appears to be that the documents sought from Mazars are not pertinent to any

legitimate Committee inquiry. This argument is far off target. Simply put, the Committee does

not bear the burden of demonstrating the “pertinence” of the records it seeks. That is not how

investigations work—whether by Congressional Committees or by any other organ of

government.

       Any suggestion that this Court conduct a searching inquiry into the “pertinence” of the

documents sought by the Committee’s subpoena finds no support in law. Even in the context of

a subpoena enforcement action brought by a Congressional Committee against an unwilling

subpoena recipient, no such requirement exists. Senate Select Comm. v. Packwood, 845 F. Supp.

17, 20-21 (D.D.C. 1994) (“In determining the proper scope of a legislative subpoena [in such an



                                                 17
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 23 of 34



enforcement action], this Court may only inquire as to whether the documents sought by the

subpoena are ‘not plainly incompetent or irrelevant to any lawful purpose [of the Subcommittee]

in the discharge of [its] duties.’” (quoting McPhaul, 364 U.S. at 381)). And when, in such a

case, “an investigative subpoena is challenged on relevancy grounds, the Supreme Court has

stated that the subpoena is to be enforced ‘unless the district court determines that there is no

reasonable possibility that the category of materials the Government seeks will produce

information relevant to the general subject of the . . . investigation.’” Id. (quoting United States

v. R. Enterps., Inc., 498 U.S. 292, 301 (1991)).

       Moreover, “[t]here is no requirement that every piece of information gathered in [a

Congressional] investigation be justified before the judiciary.” McSurely, 521 F.2d at 1041.

“This is particularly true in light of the fact that, at this stage of the proceedings, the Committee

is acting as the ‘legislative branch equivalent of a grand jury, in furtherance of an express

constitutional grant of authority.’” Bean LLC, 291 F. Supp. 3d at 45 (quoting Packwood, 845 F.

Supp. at 21). In fact, the Supreme Court has made clear that Congressional investigations may

lead “up some ‘blind alleys’ and into nonproductive enterprises. To be a valid legislative inquiry

there need be no predictable end result.” Eastland, 421 U.S. at 509. Indeed, as Judge Leon

recognized just last year in a case presenting similar legal questions, “this Court will not—and

indeed, may not—engage in a line-by-line review of the Committee’s requests.” Bean LLC, 291

F. Supp. 3d at 44.

       Even if “pertinency” were the relevant standard (which it is not), plaintiffs cannot clear

the high bar of establishing that the records compelled by the subpoena to Mazars are not

pertinent to the Committee’s investigations. The Supreme Court has made clear that




                                                   18
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 24 of 34



“pertinency” is not an onerous requirement. 24 In McPhaul v. United States, for example, the

Court held that pertinency was “clearly shown” when it was “reasonable to suppose” that the

requested records would reveal whether an entity under investigation was engaged in activities

within the scope of the Committee’s investigation. 364 U.S. at 381. In those circumstances,

even though the Committee could not know in advance whether the requested records would

establish any connection, “the records called for by the subpoena were not ‘plainly incompetent

or irrelevant to any lawful purpose [of the Subcommittee] in the discharge of [its] duties,’ but, on

the contrary, were reasonably ‘relevant to the inquiry,’” and thus pertinency was established.

McPhaul, 364 U.S. at 381-82 (quoting first Endicott Johnson Corp. v. Perkins, 317 U.S. 501,

509 (1943), then Okla. Press Publ’g Co. v. Walling, 327 U.S. 186, 209 (1946)). 25

       Here, based on its review of the information provided by Cohen, the Committee is aware

of several specific instances where President Trump’s reporting of assets and liabilities

materially differs from what was subsequently reported in his required financial disclosure

filings submitted as a candidate for office and as a federal official. Those discrepancies justify

the Committee’s effort to obtain more detailed financial information from Mazars and satisfy the

minimal showing for pertinency required by law. The Committee took a reasonable approach to

deciding which records to request.

       To the extent there is any question about why the Committee seeks records from before

Trump was a candidate for public office, that reason is simple: Financial statements cannot


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          This remains true even in the criminal context where the pertinency standard most
properly applies. See, e.g., McPhaul, 364 U.S. at 380-81; McSurely, 521 F.2d at 1041.
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          Notably, the two cases quoted by the McPhaul Court, in describing the test for
pertinency in a prosecution for criminal contempt, both involved administrative subpoenas,
confirming that even in the context of a criminal prosecution, the standard applicable to
Congressional subpoenas is no less broad and flexible than that governing the sweeping
investigative subpoenas typically issued by administrative agencies.


                                                 19
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 25 of 34



properly be reviewed in a vacuum, but rather require a basis for comparison and the ability to

track funds from year to year. Given the nature of the Committee’s legitimate inquiries, to fully

understand the President’s financial disclosures from 2015 to present, the Committee needs

information about the President’s relevant financial circumstances from previous years. In light

of the overall complexities of the President’s vast financial holdings, and since the Committee is

already aware of issues related to reporting about the Trump properties in Chicago and Las

Vegas, the ability to conduct thorough and complete investigations requires the Committee to

seek records going back to at least 2011. Congress’s investigative powers unquestionably

include the ability to follow up on reasonable leads in areas within its legislative purview.

       Furthermore, it is reasonable for the Committee to presume that the information

contained in the financial statements sought from Mazars will illuminate other areas of inquiry

for the Committee and aid the Committee’s understanding, drafting, and consideration of

legislation related to various matters within the House’s legislative power. Accordingly, there

can be no doubt that, to the extent pertinency even cabins the Committee’s ability to seek

information, the material sought by the subpoena to Mazars is pertinent to the Committee’s

investigations.

       Finally, Congress is not required to defer to material witnesses when making

determinations regarding the relevance of requested materials. This is simply not how

investigations work—whether by Congress or any other investigative body. “[I]t goes without

saying that the scope of the Committee’s authority was for the House, not a witness, to

determine[.]” Barenblatt, 360 U.S. at 124. As courts have noted, “it is manifestly impracticable

to leave to the subject of the investigation alone the determination of what information may or

may not be probative of the matters being investigated.” Packwood, 845 F. Supp. at 21; see also




                                                 20
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 26 of 34



Bean LLC, 291 F. Supp. 3d at 44 (same). This is particularly true here, where the Committee’s

investigations focus on understanding the details about the President’s numerous financial

dealings and his ongoing relationship with his private business enterprises.

       Accordingly, as discussed above, the Court’s examination on likelihood of success

should be limited to whether the Committee’s inquiry is authorized under House Rules, and

whether plaintiffs have established that the Committee’s subpoena is “plainly incompetent or

irrelevant to any lawful purpose,” McPhaul, 364 U.S. at 381, and that there is “no reasonable

possibility that the category of materials the [Committee] seeks will produce information

relevant to the general subject of the . . . investigation,” R. Enterps., 498 U.S. at 301; see also,

e.g., McSurely, 521 F.2d at 1041; Packwood, 845 F. Supp. at 20-21; Bean LLC, 291 F. Supp. 3d

at 44. Because plaintiffs have failed to meet this heavy burden, the motion for preliminary

injunction should be denied.

           3. The Committee Is Not Engaged in a Law-Enforcement Investigation

       Plaintiffs assert that “an investigation into the accuracy of a private citizen’s past

financial statements is a quintessential law-enforcement task reserved to the executive and

judicial branches.” Pls.’ Mem. at 11. The Committee’s power to investigate is in many respects

broader than that of law enforcement; it “is as penetrating and far-reaching as the potential power

to enact and appropriate.” Eastland, 421 U.S. at 504 n.15 (quotation marks omitted). Because

Congress’s power to investigate, which is “deeply rooted in American and English institutions, is

indeed co-extensive with the power to legislate,” Quinn, 349 U.S. at 160, there is no basis for

Trump’s implicit assertion that the Committee lacks the power to investigate matters within its

jurisdiction to obtain the financial records sought here. See generally R. Enterps., 498 U.S. at

299 (cautioning against “[r]equiring the Government to explain in too much detail the particular

reasons underlying a subpoena”).


                                                  21
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 27 of 34



       As explained above, the Committee is investigating to determine, among other things, if

there are deficiencies in the general legislative framework governing ethics and financial

disclosure requirements in the Executive Branch and, specifically, how those laws relate and

apply to the President and Vice President. Those inquiries have the distinct purpose of assessing

whether existing laws and regulations are adequate; if amendment, via legislation, is necessary;

or if entirely new legislation is required. Although the Committee’s inquiries have already

discovered discrepancies in President Trump’s financial disclosure forms, its interest is not in

prosecuting any individual involved. While the Committee has, at times in the past, referred

suspected criminal matters discovered in the course of its inquiries to the proper Executive

Branch officials, the possibility that the Committee could find criminal activity here does not

convert the Committee’s inquiry into a law-enforcement task, nor does it invalidate the

legitimate legislative purpose for the Committee’s subpoena to Mazars. See Hutcheson v. United

States, 369 U.S. 599, 618 (1962) (“[S]urely a congressional committee which is engaged in a

legitimate legislative investigation need not grind to a halt whenever responses to its inquiries

might potentially be harmful to a witness in some distinct proceeding, or when crime or

wrongdoing is disclosed.” (citation omitted)).

       As Supreme Court and D.C. Circuit precedent makes clear, this Court is to presume not

only “that the action of the legislative body was with a legitimate object, if it is capable of being

so construed, and we have no right to assume that the contrary was intended,” McGrain, 273

U.S. at 178 (quotation marks omitted), but also “that the committees of Congress will exercise

their powers responsibly and with due regard for the rights of affected parties,” Exxon Corp. v.

FTC, 589 F.2d 582, 589 (D.C. Cir. 1978).




                                                 22
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 28 of 34



       In the absence of any evidence to the contrary—and plaintiffs have provided none—these

presumptions further underscore that the Committee’s investigations are valid and that the

subpoena to Mazars should be enforced.

           4. Trump’s Assertion That the Committee Is Exposing for Exposure’s Sake Lacks
              Merit

       Trump’s last attempt to undermine the subpoena here is an argument that it is merely “a

transparent attempt to ‘expose’ the President’s finances ‘for the sake of exposure.’” Pls.’ Mem.

at 11 (quoting Watkins, 354 U.S. at 200). Trump has provided nothing beyond political rhetoric

and press statements to suggest that the Committee’s subpoena to Mazars is intended for any

other purpose than legitimate legislative inquiry. But even if Trump had provided some basis to

question the Committee’s motive, the Court should not look behind the Committee’s legitimate

legislative purpose. Cf. Trump v. Hawaii, 138 S. Ct. 2392, 2418-20, 2423 (2018) (upholding

President Trump’s “travel ban” and explaining that the issue “is not whether to denounce the

[President’s] statements,” but rather to “review[] a Presidential directive, neutral on its face,

addressing a matter within the core of executive responsibility”).

       Based on the voluminous evidence in the public sphere, there is no foundation to question

the legitimacy of the Committee’s legislative purpose. Supreme Court case law establishes that

Congress’s power to investigate is “broad” and “encompasses inquiries concerning the

administration of existing laws as well as proposed or possibly needed statutes.” Watkins, 354

U.S. at 187; see also Barenblatt, 360 U.S. at 152 (“So long as Congress acts in pursuance of its

constitutional power, the Judiciary lacks authority to intervene on the basis of the motives which

spurred the exercise of that power.”).

       Indeed, the Supreme Court has consistently noted that the motivations underlying

Congressional action are not to be second-guessed, even by the courts. Eastland, 421 U.S. at



                                                  23
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 29 of 34



509 (“The wisdom of congressional approach or methodology is not open to judicial veto.”);

Watkins, 354 U.S. at 200 (“But a solution to our problem is not to be found in testing the motives

of committee members for this purpose. Such is not our function.”); McGrain, 273 U.S. at 178

(“We are bound to presume not only that the action of the legislative body was with a legitimate

object, if it is capable of being so construed, and we have no right to assume that the contrary

was intended.” (quotation marks omitted)).

       Accordingly, plaintiffs’ motion for a preliminary injunction should be denied and this

Court should issue an order that the subpoena to Mazars is valid and enforceable.

II. Plaintiffs Have Failed to Establish a Likelihood of Irreparable Injury

       Plaintiffs’ interests in confidentiality over documents shared with Mazars does not

outweigh Congress’s constitutionally based authority to employ compulsory process to obtain

information within its legislative and oversight purview. Plaintiffs’ other argument for

irreparable injury—that this Court must “urgently” intervene “because the due date for

compliance with the subpoena is only days away,” Pls.’ Mem. at 12—has been obviated by the

parties’ agreement to postpone the return date on the Committee’s subpoena until seven days

after this Court rules on the motion for preliminary injunction. See Docket, Minute Order (Apr.

23, 2019).

       Plaintiffs’ failure to satisfy the stringent irreparable-injury requirement is a separate and

independent ground requiring denial of their motion, even leaving aside their inability to satisfy

the other three requirements for injunctive relief. As the Supreme Court has emphasized,

regardless of a plaintiff’s showing with respect to the other factors, “[o]ur frequently reiterated

standard requires plaintiffs seeking preliminary relief to demonstrate that irreparable injury is

likely in the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis omitted); see also

Abdullah, 753 F.3d at 197 (“When seeking a preliminary injunction, the movant has the burden


                                                 24
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 30 of 34



to show that all four factors, taken together, weigh in favor of the injunction.” (quotation marks

omitted)).

       The D.C. Circuit has consistently “set a high standard for irreparable injury.” Chaplaincy

of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). In particular, “the

injury ‘must be both certain and great; it must be actual and not theoretical.’” Id. (quoting Wis.

Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam)). This Circuit has also

emphasized,

               the further requirement that the movant substantiate the claim that
               irreparable injury is “likely” to occur. Bare allegations of what is
               likely to occur are of no value since the court must decide whether
               the harm will in fact occur. The movant must provide proof that the
               harm has occurred in the past and is likely to occur again, or proof
               indicating that the harm is certain to occur in the near future.

Wis. Gas, 758 F.2d at 674 (first and third emphases added).

       Plaintiffs fall short of meeting this demanding burden. Any contractually based interest

in the confidentiality of documents in Mazars’s possession cannot and does not override the

Committee’s constitutionally based interest in obtaining information within its legislative and

oversight jurisdiction. To the extent that plaintiffs assert any irreparable harm from the

disclosure of the subpoenaed financial documents at all, it is predicated on their inability to

obtain meaningful judicial review of their constitutional claims regarding the subpoena’s

validity. See Pls.’ Mem. at 11-12 (“Plaintiffs have raised important constitutional claims. Yet

denying them interim relief may ‘entirely destroy [their] rights to secure meaningful review.’”

(citation omitted)).

       Accordingly, plaintiffs’ failure to assert any irreparable harm is fatal to their quest for a

preliminary injunction.




                                                 25
            Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 31 of 34



III. The Balance of Equities Tips Heavily in Favor of the Committee

        The balance of the equities overwhelmingly favors the Committee. Trump summarily

asserts that he would be injured by Mazars’s compliance with the subpoena. But there is no basis

for assuming such injury if Mazars produces financial records to the Committee in the same

manner that countless entities—including accounting firms, banks, and other financial

institutions—routinely produce financial records in response to civil discovery subpoenas,

government administrative subpoenas or civil investigative demands, grand jury subpoenas, and

the like.

        By contrast, the Committee’s interest in prompt compliance with its subpoena is of the

highest order. As the Supreme Court has held, Congress’s “power of inquiry—with process to

enforce it—is an essential and appropriate auxiliary to the legislative function.” McGrain, 273

U.S. at 174. “The power of inquiry” extends “over the whole range of the national interests

concerning which Congress might legislate.” Barenblatt, 360 U.S. at 111. “A legislative body

cannot legislate wisely or effectively in the absence of information respecting the conditions

which the legislation is intended to affect or change; and where the legislative body does not

itself possess the requisite information—which not infrequently is true—recourse must be had to

others who do possess it.” McGrain, 273 U.S. at 175. Trump’s argument that the Committee

has “no urgent need for the subpoenaed documents,” Pls.’ Mem. at 13, is not only wrong—

because an undue delay would inflict the legally protectable harms of loss of information and

institutional diminution of the Committee’s subpoena power, see Committee on the Judiciary,

U.S. House of Representatives v. Miers, 558 F. Supp. 2d 53, 71 (D.D.C. 2008)—it is also an

improper usurpation of the House’s constitutional power to investigate and conduct oversight.

No outside entity, whether a subpoena recipient like Mazars or the subject of the records being

sought, is permitted to micromanage the Committee’s investigations or dictate what is or is not


                                                26
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 32 of 34



urgent. See Eastland, 421 U.S. at 509 (“The wisdom of congressional approach or methodology

is not open to judicial veto.”).

        Here, the Committee is investigating matters of immense national importance, and the

information contained in Mazars’s documents appears to be a key part of those investigations.

The Committee’s interest in obtaining information relevant to its investigations would be harmed

by any injunctive relief in this case. That the Committee’s overarching investigations are within

its legislative power should be the end of the inquiry. Cf. McSurely, 521 F.2d at 1041 (“There is

no requirement that every piece of information gathered in [a Congressional] investigation be

justified before the judiciary.”). The balance of the equities thus favors denial of the motion for

a preliminary injunction.

IV. The Public Interest Supports Enforcement of the Subpoena

        For the same reasons, the public interest supports denial of relief. There is a “clear public

interest in maximizing the effectiveness of the investigatory powers of Congress,” and “the

investigatory power is one that the courts have long perceived as essential to the successful

discharge of the legislative responsibilities of Congress.” Exxon Corp., 589 F.2d at 594.

Plaintiffs’ contrary argument rests on the same flawed arguments refuted above and ignores the

clear and compelling public interest in the speedy and efficient conduct of the Committee’s

investigations. Even in the less-pressing context of administrative investigations, the D.C.

Circuit has “recognized a strong public interest in having [such] investigations proceed

expeditiously and without impediment.” Linde Thomson Langworthy Kohn & Van Dyke, P.C. v.

Resolution Trust Corp., 5 F.3d 1508, 1514 (D.C. Cir. 1993) (quotation marks omitted).

Likewise, the public interest in expeditious and unimpeded Congressional investigations is

compelling.




                                                 27
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 33 of 34



                                        CONCLUSION

       For the foregoing reasons, plaintiffs’ request for a preliminary injunction should be

denied, the Court should issue an order holding the subpoena valid and enforceable, and the case

should be dismissed with prejudice.

                                             Respectfully submitted,

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May 1, 2019




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         The Office of General Counsel wishes to acknowledge the assistance of law clerks
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Law School, in preparing this brief.


                                               28
        Case 1:19-cv-01136-APM Document 20 Filed 05/01/19 Page 34 of 34



                                CERTIFICATE OF SERVICE

       I certify that on May 1, 2019, I caused the foregoing document to be filed via this Court’s

CM/ECF system, which I understand caused service on all registered parties. I further certify

that I served a copy of the foregoing document by email on counsel for defendant Mazars USA

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